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                        UNITED STATESDISTRICT COURT
                      EASTERNDISTRICT OF PENNSYLVANIA


CHARLES CONROY
                                                CIVIL ACTION NO. 09-cv-01215

             v.

JBJ LIMOUSINE,INC.
tla JBJ LIMOUSINE and
JBJ LIMOUSINE AND BUS,INC.




                                      ORDER




      AND NOW. this                day of                         2009,upon

            of defendants'motionandplaintiffls response
consideration                                         thereto,it is herebyORDEREDand

DECREEDthat defendants'motionfor summaryjudgmentis DENIED exceptasto the

applicationof punitivedamageswhich maynot be recoveredby the plaintiff asagainsteitherof

the defendants.




                                                                            J.
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                          UNITED STATESDISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


CHARLES CONROY
                                                   CIVIL ACTION NO. 09-cv-01215

                v.

JBJ LIMOUSINE,INC.
tla JBJ LIMOUSINE and
JBJ LIMOUSINE AND BUS.INC.



                       PLAINTIFF'S RESPONSETO DEFENDANTS'
                         MOTION FOR SUMMARY JUDGMENT

      CharlesConroy,throughhis attorneyJamesN. Gross,Esquirerespondsto defendants'

Motion for SummaryJudgmentasfollows:

       I.       Denied.Theplaintiffwasinjuredasa resultof anassaultnot a "physical

altercation."

      2.        Admitted.

      3.        Admitted.

      4.        Admitted.

      5.        Admitted.

      6.        Denied. As will be broughtout in the attendantbrief in supportof this response

plaintiff aversthat he hasmadeout a primafaciecaseof negligenceagainstthe defendants.

      7.        Denied. As will be broughtout in theattendantbrief in supportof this response

plaintiff aversthat he hasmadeout a primafaciecaseof negligenceagainstthe defendants.
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        8.     In the instant paragraphdefendantshave offered only conclusory assertionswhich

plaintiff avers are insufficient in requiring the plaintiff to offer a response. Whether the

conclusory assertions,which constitute the defendants'interpretationsof the holdings in the

casescited, have application in the instant caseis for the court to decide within the context

of the argumentspresentedthrough the parties' respectivebriefs.

       9.      In the instant paragraphdefendantshave offered only conclusory assertionswhich

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argumentspresentedthrough the parties' respectivebriefs.

        t2.    Denied. Plaintiff aversthat the defendantsdid have a duty of care to protect

individuals such as the plaintiff from potential harm.
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        13.    Denied. The plaintiff has proffered sufficient evidencein proving that a duty was

owed, through both of its expert reports,that the duty was breached.

        14.    Admitted. It is admitted that the defendantsdid not serve any alcoholic beverages

to its passengerswhich is consistentwith the avermentsin the complaint.

        15.    Admitted.

        16.    Admitted.

        17.    Denied. The testimonyof the plaintiff revealsthat the peoplethat were on

the bus were the samepeople who assaultedhim.

        18.     Denied. The plaintiff has proffered sufficient evidencein proving that a duty was

owed and that the duty was breachedby his depositiontestimony and the expert report of

Elizabeth Trendowski.

        19.    In the instant paragraphdefendantshave offered only conclusory assertionswhich

plaintiff avers are insufficient in requiring the plaintiff to offer a response. Whether the

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       21.     In the instant paragraphdefendantshave offered only conclusory assertionswhich

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argumentspresentedthrough the parties' respectivebriefs.

        25.    Admitted.

       26.     Denied. The testimony of the plaintiff revealsthat the group of assailantswho

assaultedhim and causedhis iniuries came directly from the bus.
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       27.     Denied. It is averredthat plaintiff has offered a prima facie casethat the inactions

of the defendantswere both a factual and proximate causeof the injuries sustained.

       28.     Denied. Plaintiff aversthat the actionsof his assailants,who were passengerson

the bus, were foreseeablewithin the parametersof the "reasonableperson" standardunder the

instantcircumstances.

       29.     In the instant paragraphdefendantshave offered only conclusory assertionswhich

plaintiff avers are insufficient in requiring the plaintiff to offer a response. Whether the

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argumentspresentedthrough the parties' respectivebriefs.

        34.    Denied. Plaintiff aversthat the individualswho assaultedhim camedirectlv from

the bus and that the non-supervisionof the bus under thesecircumstancescould be harmful to

individualsor property.

        35.    Denied. The assailantsin questionwere passengers
                                                              on the bus possessed
                                                                                 by the

defendantswho maintained responsibility for supervisionof the occupantsat all times in the

instant circumstance. Plaintiff aversthat it was foreseeablethat intoxicated patronswho were in

the defendants'bus and left unsupervisedfor an extendedperiod of time could do harm upon

peopleor property.

        36.    Denied. In light of the defendants'actions or non-actionsserving as a substantial

factor in the harm that was eventually perpetratedupon the plaintiff, such actions or omissions

fulfill the elementof proximate cause.

        37.    In the instant paragraphdefendantshave offered only conclusory assertionswhich

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       38.     In the instant paragraphdefendantshave offered only conclusory assertionswhich

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argumentspresentedthrough the parties' respectivebriefs.

       40.     Denied. Plaintiff hasproducedexpertreportscontainingfindings within the

purview of theseexperts' fields as specifiedin their reportsand curriculum vitae.

        41.    Admitted in part and deniedin part. Ms. Trendowskihas beenidentified as an

expert within the context of not just dram shop litigation but within the context of the

distribution of alcohol within the hospitality industry (of which the defendantswould be

included) and related safety measures.

       42.     Admitted, plaintiff recognizesthat this is not a dram shop case.

        43.    Denied. SinceexpertTrendowskiis very much qualified to offer opinionswithin

the distributionpresenceor dispensingof alcoholrelatedsafetymeasuresin the hospitality

industry, a casesuch as the instant one is well within her areaor areasof expertise.

        44.    Admitted.
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        45.     Denied. As her report details,Ms. Trendowski'sopinionsare basedon the facts

gleanedfrom the discoverymaterial,inclusiveof the depositionsof severalindividuals. The

assertionthat the passengerson the defendants'vehicle were intoxicated or appearedto be

intoxicated is drawn from the lay testimony and elementscomprising the discovery in this case.

       46.      Admitted.

        47.     Denied. As per the curriculumvitae of Mr. Watt, he hasbeeninvolved in the

manufacturingand designof buses. Being so closelyinvolved in suchprocesses,the safety

measuresand protocol of bus drivers is germaneto his areaof expertise.

        48.     Denied. The opinion of the expert as to the actions of the bus driver offered by

Mr. Watt is drawn from the material comprising the discovery in this case.

        49.     Denied.It is plaintiff s positionthat both opinionsof the expertsare properfor

considerationin decidinethis motion and bevond.

        50.     Denied. Plaintiff aversthat the doctrine of the assumptionof risk has no

application to the instant set of facts.

        51.     Admitted.

        52.     Admitted.

        53.     Denied. The plaintiff did not offer any testimonyin supportof the defendants'

assertionthat he "provoked an argument."

        54.     Denied. The defendants'use of the words "physical altercation" are inaccurate

and misguided. An assaulton the plaintiff was the event which occurred from which the plaintiff

sustainedsignifi cant facial inj uries.
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       55.     Denied. It is plaintiff s positionthat the assaultwas caused,not by any voluntary

engagementon the plaintiff s behalf, but the non-actionsor omissions of the defendantsin the

supervisionof the passengersunder the circumstancesexisting at that time.

        56.    Admitted, in light of the plaintiff s condition after the assaultand in light of

the police intervention which followed.

       57.     Denied. At no time did the plaintiff assumethe risk of his conductand the facts

borne out in discoveryfail to supportthe applicationof this doctrine.

       58.     Admitted.

       59.     In the instant paragraphdefendantshave offered only conclusory assertionswhich

plaintiff aversare insufficient in requiring the plaintiff to offer a response. Whether the

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      Case 2:09-cv-01215-JPH Document 15 Filed 11/16/09 Page 11 of 27



       62.    In the instantparagraphdefendants
                                              haveofferedonly conclusoryassertions
                                                                                 which

plaintiff aversareinsufficientin requiringtheplaintiff to offer a response.Whetherthe

conclusoryassertions,
                   which constitutethe defendants'interpretations
                                                                of the holdingsin the

casescited,haveapplicationin the instantcaseis for the courtto decidewithin the contextof the

        presented
arguments       throughthe parties'respectivebriefs.

       63.    Admitted.

       64.    Admitted.

       WHEREFORE,plaintiff requeststhatdefendants'motionfor summaryjudgmentbe

deniedexceptasto the applicationof punitivedamages.

                                           Respectfullysubmitted.




                                                  AttorneyL\.# 40715
                                                               Plaintiff
                                                  1616WalnutStreet,SuiteI I l0
                                                  Philadelphia,
                                                             PA 19103
                                                  (zrs)670-9e26
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                           UNITED STATESDISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


CHARLES CONROY
                                                       CIVI ACTION NO. 09-cv-01215

               v.

JBJ LIMOUSINE, INC.
tla JBJ LIMOUSINE and
JBJ LIMOUSINE AND BUS.INC.



        MEMORANDUM            OF LAW IN SUPPORT OF PLAINTIFF'S RESPONSE


I.     PROCEDURAL HISTORY

       The instant matter was initiated in the Court of Common Pleasof Philadelphia County by

a Writ of Summonson I lll3l08. The original defendantnamedin the initial Writ of Summons

was identified as JBJ Limousine.Inc. t/a JBJ Limousine. On lll2ll08 a Writ to Joint Additional

Defendantwas filed in statecourt naming JBJ Limousine and Bus, Inc. as an additional

defendant. Both defendantswere personally servedat their respectiveaddressesin New Jersey

and the requisite affidavits of service were filed in statecourt on lIl2ll08   and 1214108.A case

managementorder and notice of trial pool assignmentdated2ll8l09 was issuedto the partiesby

the Court of Common Pleasof PhiladelphiaCounty. Thereafter,on2l27l09 plaintiff filed its

complaint againstthe defendantsin statecourt. Serviceof the complaint againstboth defendants

was effectuatedby United StatesFirst ClassMail as permitted by staterules. Affidavits of

serviceas to the defendantseachbeing servedwith a copy of the complaint were filed in state

court on 316109.By notice of removal dated3ll9l09, the matterwas thereaftermoved to the

United StatesDistrict Court for the EastemDistrict of Pennsvlvania. On 419109the defendants
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answeredthe plaintiff s complaint and raised affirmative defenses. The matter having been

assignedto the Honorable Bruce W. Kauffrnan on 4113109,
                                                     an order was thereafterentered

speciffing that a Joint Rule 16 Memorandumwould be due on 5115109.On that datethe Joint

Rule 16 Memorandum was filed electronically by counselwho were thereafternotified of the

availability of a MagistrateJudgeto exercisejurisdiction. By consentof counselof 5120109
                                                                                       it

was agreedthatjurisdiction could be exercisedby a U.S. MagistrateJudge. After consultation

with U.S. MagistrateJudgeJacobP. Hart an initial schedulingorder was issuedon613109.On

      a revisedschedulingorder,at the requestof counsel,was issuedproviding for defendants
9124109

submissionof a Motion for SummaryJudgmentby lll2l09 and plaintiff s responseby 11116109.

It is in responseto defendants' motion that plaintiff now offers the instant writing.

II.    FACTS FROM PLAINTIFF'S PERSPECTIVE

                              plaintiff CharlesConroy and two of his friends,Nick Slomsand
       On the night of 11126106

Nick Lobertowere in the Old City sectionof Philadelphia.They arrived in Old City

approximately11:00p.m. to go to certainbarsin the area. Conroy testifiedat his depositionthat

it was no more than three bars all of which they had frequentedbefore that evening. After the

barshad closedat approximately2:00 a.m.,Conroyrecalledstoppingat Soho Pizzabetween2:00

and2:30 a.m. After leaving Soho Pizza, the plaintiff and his two friends crossedfrom the south

side of Market Streetto the north side and proceededto walk west on the north side of Market

between2'd and 3'dstreets. While walking, Conroy saw a bus that had broken down and the

door(s) were wide open, the disabledbus was on Conroy's left as he was walking west on Market

Street. Seeingthat the door was open, Conroy looked in and saw no driver. It was at that point

that he decidedto walk onto the bus. Not only did Conroy testiff that he did not seea driver he

saw no one standing outside the bus. Conroy's reasonfor walking on the bus was because"I was
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curiousand I wantedto seeif they neededhelp." (Page46 lines 13-14of Conroy deposition)

As soon as Conroy walked onto the bus and climbed the stairs he saw approximately 12 to 15

people congregatedin the rear of the bus. At the time that he enteredinto the bus, Conroy

testified that he was not drunk and felt completely sober. (Page48 lines I3-I4 of Conroy

deposition) After some basic salutaryremarksfrom Conroy, he was told very aggressivelyto get

the "fuck out of the bus." (Page50 line 4 of Conroydeposition)In responseto the comment

from the one male, Conroy turned around and walked down the stairs but before leaving the bus

Conroy "knocked over one of the cups that had just a little tiny bit of beer in it and then walked

out." (Pages5l and 52 lines l3-19 of Conroy deposition)Immediatelyafter leavingthe bus

approximatelysix or sevenmalescameout talking aggressivelyto Conroy's friend Nick Loberto.

The six or sevenmales from the bus surroundedLoberto (and Conroy). Loberto was hit and fell

right to the ground after which Conroy startedrunning west on Market Street. As Conroy was

running the males surroundedhim striking him in the face with their fists. The assaultresultedin

Conroy sustainingseverefacial injuries. The PhiladelphiaPolice were calledto the sceneby a

911 call from Conroy's friends. The PhiladelphiaPolicequestionedcertainof the partiesand an

ambulancewas called to administer to CharlesConroy who was then transportedfrom the scene.

       William Ervin was the bus driver that night for the bus owned by the defendantsand

rentedout for the purposeof a 21" birthdaycelebration.Mr. Ervin, at his deposition,statedthat

the patronson the bus that night did qot bring alcohol onto the bus. Nor did the patronspick up

alcohol on the way and Ervin testified, there was no drinking on the bus. As statedby Ervin

"they had no alcohol. Therewere no beerbottles." (Page26line 3 of Ervin deposition)Ervin


recalled the bus breaking down in the vicinity of 3'dand Market Streetswhile claiming that he

stayedwith the bus at all times.
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      In contrastto Conroy's statementsthat he never saw a bus driver, Ervin testified as

follows: (Page30,lines l-7,Page 3l lines 8-14;22-2)

a.    Did you ever leave the bus at any point?

      No.

      You never left the bus?

      I didn't leavethe vicinity. I stoodoutside...Iwas outsidethe front door.

      How far away?

      As closeas I am to you.

      Would it be fair to say that is about 4 feet or 3 feet? About 3 feet away?

      Yes.

      That's the furthest you got from the bus?

      That's the furthest I got from the bus.

       You were, again,3 feet from the bus? Were you by the front door?

       Yes.

      Is there only one entranceto the bus?

       Yes.

      As to Ervin's recollectionas what transpiredthat evening,the following portionsof his

deposition                    (Pages
                 areinstructive:
         testimony                 3l,32lines 9-14;2l-24)

a.     Tell specificallywhatyou saw.

A.     We werebrokedown. Therewerea coupleof guyswho werecomingdown 3'dStreet.

       Theystartedmouthingoff. I wasoutsideandI hadfour guyswith me that weresmoking

       cigarettes.Everybodyelsewasinsidethebus.
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A.    The only thing I saw was those guys mouthing off that was it. As far as the fight goesI

      didn't seeanything. I didn't seewho hit what or who threw the first punch or whatever.

      Furtheron page33 lines 5-22,Ewin testifiesas follows:

a.    Okay. The four guys that you mentionedwho were having a cigarettethat were on your

      bus, they were outsidehaving a cigarette...

      Yes.

      Then theseother two people were coming down the street?

      Yes.

      Thesetwo guys or one of the two guys beganmouthing off to the group of four?

      Yes.

      You saw all of this? You were within just a few feet of this whole event?

      Yes. That's the only part I saw was the mouthing off part.

      That's it.

      That was it.

      You didn't seea fight?

      No.

      The following portions of Ervin's testimonyare also instructive: (Page35 lines 16-24;l-

6 of Ervin deposition)

a.    Did you seeanyof the occupantscomeoff the busat anytime?

A.    Just the four guys outside having a cigarette.

a.    That was it? Nobody else?

A.    Nobody elsecameoff the bus.

a.    Did you seeeither of the two guys attemptto come into the bus?
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A.    No.

a.    No one camein the bus?

A.    No.

a.     You didn't seethe young man that we referredto which is CharlesConroy, get hit?

A.    No.

a.     You only saw him when he was spitting blood?

A.     Yes.

       Beginningon the bottom of page37 throughline 10 of page38 of Ervin's deposition

transcript,the following testimonyensued:

a.     So if Charles Conroy came in today and said that he climbed the front stepsof the bus

       and looked into the bus? You didn't seethat happen?

A.    No.

a.     When Charles Conroy came in to testiff today and he said that he had seenplastic cups,

      which he thought containedbeer, there was no beer on the bus?

      No.

      No canson the bus?

      No.

      No bottles on the bus?

      No.

      No keg on the bus?

      No.

       When Mr. Conroy testified earlier that there were certain white males who came off the

      bus and struck him repeatedlythat wouldn't be correct,would it?
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A.     Like I said I didn't seeit.

       Finally, on page40 of the transcriptlines 6-18, Ervin states:

A.     Yeah, because,like I said, I just stayedby the door to make sure nobody else got off, you

       know to make sure nobody gets on.

a.     Okay that's your job?

A.     Yes.

a.     Your job is to staywith the vehicle at all times; correct?

A.     Yes.

a.     But when Mr. Conroy, the plaintiff in the case,came in and testified that he didn't seethe

       bus driver anywherenear the bus at the time this incidence occurred he would not be

       telling the truth?

A.     Yes.

       From the plaintiff s perspective,the testimony of the owner of the defendantcompanies

as to his not knowing or not being aware of the existenceof a regulation or law in place that

prohibitspeoplefrom drinking in limousinesor buseswhile being operatedis signifrcant. That

significance is heightenedby the expert report of Elizabeth A. Trendowski on behalf of the

plaintiff who states,without equivocation,that such conduct is prohibited. (Seepage 3 of report

of Trendowskireferringto New JerseyAlcohol BeverageControl).

       As to the existenceof alcohol on the bus that evening,plaintiff aversthat one only hasto

look closely at the statementsoffered under oath by two of the occupants,JanineCastellucciand

Nick Ryan. Ms. Castellucci,for whom the bus was rented,confirmedthe presenceof alcoholon

the bus that evening,specificallya keg of beerwith a tap on it. (Page14, lines 16-20Castellucci

statement)and the beer having been ingestedthrough the use of plastic, red cups. Nick Ryan,
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who was Janine Castellucci's boyfriend at the time, remembereddrinking beer and that beer had

beenbrought on the bus that evening. (Page6 lines 6-8) Further, due to Ryan recalling drinking

out of cups, the beer, he opined, would have probably come from a keg. (Page6, lines 20-22,

Ryan statement)

       When askedif he recalled certain specificsfrom the bus itself that evening, Ryan

respondedas follows: (Page10, lines3-11 and Page12,lines8-l l)

a.     Are you able to recall anything in particular?

A.     I think it was like, the wrap-aroundlike, leather...it'shard for me becauseat that point,

       everybodyturned 2l atthe sametime.

a.     Right.

A.     And that was the thing to do.

a.     Of course.

A.     Yougota limo/bus,
                      yourideto Philly,youdranka lot.

a.     Do you know how many bars you may have beento that evening roughly?

A.     I think a lot. Probably,five six different ones.

       It is againstthis backdrop or collage of facts, as gleanedby the plaintiff from certain of

the discovery,that a claim of negligenceis assertedagainstthe defendants.

III.   ISSUE

       Whether plaintiff has made out the elementsof negligence,to a prima facie degree,in

conjunction with the existenceof genuineissuesof material fact to preclude the entry of

summaryjudgment.

       Answer: Yes.
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rv.    p,rsqus$ror{/4RGIJMENT

       To have a chanceto obtain summaryjudgment, the movant must first successfully

shoulderthe burden of establishingits presumptiveentitlementto summaryjudgment in the

absenceof an adequateresponseby the nonmovant. In effect, the movant must make out a prima

facie casefor summaryjudgment in its favor by establishing(1) the apparentabsenceof any

genuineissueof material fact and (2) movant's entitlementto judgment as a matter of law on the

basisof the undisputedfacts. Moore's FederalPractice3D $56.13(1).

       If the movant fails to meet its burden of production to show that there exists no genuine

issueof material fact, the motion for summaryjudgment may not be granted. Celotex Corp v.

Catrett,477 U.5.317, 106S. Ct. 2548(1986).

       Courts ruling on summaryjudgment motions are to review the submissionsof the parties

and determinewhether a factual dispute of sufficient magnitudeexists to warrant trial. Anderson

v. Liberty Lqbby.Iqc. 477 U .5. 242, 106 S. Ct. 2505(1986).

       Court must view record in light most favorableto nonmovant. Anderson at P.

("evidence of nonmovant is to be believed and all reasonableinferencesare to be drawn in his

favor").

       Assuming that this court recognizesplaintiff s position as to the existenceof multiple

genuineissuesof material fact, the issueas to whether plaintiff s claim fails as a matter of law

neednow be addressed.

       The elementsof a causeof action for negligenceare well known and not in dispute. A

prima facie caseof negligencerequires a plaintiff to prove four elements:

       (l)     a duty or obligationrecognizedat law;

       (2)     breach ofthat duty by the defendant;
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       (3)     a causalconnectionbetweenthe defendant'sbreachof that duty and the resulting

               injury; and

       (4)     actual loss or damagesufferedby the complainant Reill)'v. Turgartes.Inc. 633

               4.2d208 (Pa. Super 1993).

       Focusing initially on whether a duty should be imposed on the defendants,we needto

look what a duty actually is. As defined by W. PageKeeton, a duty is an obligation requiring the

personto conform to a standardofconduct for the protection ofothers againstunreasonable

risks. Prosserand Keeton on Torts, 5thEdition $30.

       This standardof conduct is defined as the "reasonableman of ordinary prudence."

       The idea of risk in this contextnecessarilyinvolves a recognizabledanger,basedupon

someknowledge of the existing facts and somereasonablebelief that harm may follow.

Restatement(Second)of Torts, $282,commentg: Prosserand Keetonon Torts, 5thEd. $31.

       In the instant circumstanceif we are to believe the testimony of CharlesConroy, William

Ervin the bus driver at the time when the bus broke down was not present. To leave the bus at

that time unsupervisedwith a group of 2l year olds who had been drinking createsan

unreasonablerisk of harm to themselvesor others. This assertionis corroboratedbv Elizabeth A.

Trendowski who stateson page 4 of her report that "once the bus becamedisabled,JBJ was

responsiblefor controlling the people within the vehicle. JBJ had a duty to maintain the safetyof

the passengersand of third parties. This was the equivalentof a bar full of intoxicated patrons."

Ms. Trendowski goes on to state"a reasonablyattentivedriver would have noticed that severalof

the passengerswere likely intoxicated and createdahazardto themselvesand to third parties.

Once the JBJ driver left the vicinity of the bus, he relinquishedcontrol of the environment. A

private carrier like JBJ transporting intoxicated personscan reasonablyforeseethat the
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passengersmay not be fully capableof making rational decisionsin certain situationslike the

incidentthat occurredon November26,2006 at 3:15 a.m." LanceWatt also servingas an expert

on behalf of the plaintiff, opined that "Ervin improperly maintained control over his passengers

who were his responsibilityand underhis direct supervisionat the time of the assault."($5, page

6 of the Investigation of the Charles Conroy Assault by Lance Watt)

       Plaintiff rebutsthe applicationof $315of the RestatementSecondof Torts due to its non-

application to this set of facts. The focus is not on the duty to control the conduct of a third

person. The duty is to conduct oneself as a reasonableman of ordinary prudencewould in like

circumstancesso as not to createa situation involving unreasonablerisks to others. The analysis

focuseson the actor William Ervin whose dutv is to conform his conduct to that of the

reasonablyprudent person under the circumstancesexistentthat evening. It is plaintiff s

assertionsuch conduct would not allow young, intoxicated or near-intoxicatedpatronsto be

unsupervisedin an urban environment at a late hour therebycreating potential risks of harm to

one anotheror third parties.

       That criminal conduct (the assaultitself), identified as a supersedingor intervening cause,

absolvesthe defendantsof their duty of care,is contravenedby William L. Prosser.Prosser

states"if the intervening causeis one which in ordinary human experienceis reasonablyto be

anticipated,or one which the defendanthad reasonto anticipateunder the particular

circumstances,the defendantmay be negligent,among other reasonsbecauseof failing to guard

againstit; or the defendantmay be negligent only for that reason." PrQsserand Keeton on Torts,

Fifth Edition $44

       The instant scenariois not representativeof the defendantsmaintaining an affirmative

duty to control the conduct of third persons,it is about the defendantsexercising appropriate
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conduct,through its bus driver that evening, in a situation where unreasonablerisks existed.

That plaintiff is unable to offer substantiveevidenceas to the existenceof minors on the bus is of

no moment. Further, it is of no moment that the defendantsdid not servethe alcohol which was

ingestedon the bus that night. It is foreseeablethat patronsrenting a bus for the purposeof bar-

hopping, during which time the patrons are drinking from a keg of beer while the bus is being

driven, which bus becomesdisabledand then left unsupervisedin an urban settingat 3:00 a.m. -

that harm againstindividuals or property could ensue. On a parallel scale,it is the kind of

unreasonablerisk which is createdif the manageror supervisorof a bar leavestheir bar

unattendedto the intoxicated or near-intoxicatedpatrons.

       Paragraphl5 of plaintiff s complaint statesthat "defendantsbreachedtheir duty of care

owed to the plaintiff by allowing and/or inviting the consumptionof excessiveamountsof

alcohol,by minor occupantsand thosehavingjust turned21 yearsof ageand thereafterallowing

the limousine/van and its occupancyto be left unattendedfor a period of time." For defendants

to assertthat plaintiff has not satisfied the elementof the breachof the duty of care,even at a

prima facie level, contravenesthe facts which exist.

       JaneneCastellucci in her statementunder oath recalled a quarter keg of beer with a tap

being on the bus at the time it left her home. Shealsorecallswith specificitythat red, plastic

cups were used to drink the beer. Nick Ryan, her boyfriend at the time, was certain that beerwas

being consumedon the bus and that the patronshad beento at least six or sevenbars at the time

they were retrieved at the end of the evening. The testimony of the bus driver as to the non-

existenceof beeris simply not credible,or if credible,when weighedagainstthe testimonyof

Ryan and Castellucci, reflects his complete inattentivenessto his surroundings. Further, for the

bus driver to claim that he was within 3 feet of the front door and that no one enteredthe bus
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after it was broken down contravenesnot only the plaintiff s testimony but that of Castellucci

and Ryan (both of whom recalled an unknown individual having enteredthe bus). Further, for

the bus driver to remember so little about the incident which arosethat evening confirms his

continuing non-attentionto his surroundingsor his evasivenessof the truth. By allowing

intoxicated, or near-intoxicatedpatrons,within this age bracket to be unmonitored or

unsupervisedin an urban setting at that time of morning/night portendsharm either to them or to

others.

       Plaintiff now turns to the issueraised as to whether plaintiff has proven, at a prima facie

level, that his injuries were a proximate causeof the defendants'breachof duty.

       Proximatecausationrequiresan evaluationnot only of the foreseeabilityof consequences

but also whether,as a matter of law, legal responsibilityshouldattachto suchconsequences.
                                                                                        The

question of proximate causecenterson whether the harm causedto the specific plaintiff in the

casewas a foreseeableresult to the risk which makesthe defendants'conduct unreasonable.

Berry v. The Bo{oughof SugarNotch,43 A.240 (Pa.1899).

       The test for proximate causationis whether the defendants'acts or omissionswere a

"substantial factor" in
                        bringing about the plaintiff s harm. Brown v. Philadelphia College of

          Medicine,760A.2d 863 (Pa.Super.2000).
Osteopathic

       Under this test, plaintiff must establishthat the nexus betweenthe wrongful acts (or

omissions)and the injuries sustainedis of such a naturethat it is socially and economically

desirableto hold the wrongdoerliable. Hamil v. Bashline,392A.2d 1280(Pa. 1978).

       The court must determinewhether the injury would have been foreseenby a.t ordinary

person as the natural and probable outcome of the act complained of. Reilly v. Tierearten.Inc.,

633A.2d208 (Pa.Super.1993).
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        In attempting to satisff this issueof proximate causation,plaintiff offers the findings of

 its expertsboth of whom addressthis issuein the Findings section of their investigations/reports.

 Plaintiffbelieves that the facts,as presented,led to the creationof"a causalchain ofevents

 which were not so remote to make it seemhighly extraordinarythat defendants' conduct could

 have causedthe harm. Miller v. The BrassRail Tavern.Inc.702 A.2d 1072(Pa. Super.1997)

 Defendants' assertionthat none of the patronson the bus were involved in the assaultand

therefore causationis lacking, presentsitself, at worst, as a genuineissue of material fact which

 should be determinedbv afact finder.

        That defendantstake exception and requestthe elimination of plaintiff s proposedexperts

 is a matter for another moment. At this juncture plaintiff has proffered the analysesand findings

 from two experts,which plaintiff avers,supporthis constructionof negligence. What weight the

 analysisand findings of plaintiff s expertswill be accordedis to be determinedby the fact finder.

Defendantsmay rightfully object to the analysisand findings but their existenceand relevanceat

this time points to genuine issuesof material fact yet to be resolved.

       Defendants'bald assertion,in supportof their defenseof plaintiff s assumptionof the risk,

that plaintiff walked on the bus and thereafter"provoked an altercation" is both misguided and

without foundation. Should defendantswish to raise the doctrine of the assumptionof the risk

from the facts borne out, then afact finder would be in the best position to determineif plaintiff s

flicking of a cup containing a certain amount of liquid constitutedsufficient provocation to put

himself at risk. Further, defendants'interpretationof the assaultperpetratedupon plaintiff as

"engaging in a physical altercation with unknown
                                                 assailants"is both a complete misinterpretation

of the facts and a misstatementof plaintiff s testimony. There is no unrebuttedtestimony from
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which this court can determine,as a matter of law, that the plaintiff assumedthe risk of his own

conduct.

v.     C9NCLUSTON

       In light of plaintiff at thistime satisfuing
                                                  theelements
                                                            of his negligence
                                                                            claim,to a prima

faciedegree,in conjunctionwith the existenceof (multiple)genuineissuesof materialfact,

defendants'requestfor summaryjudgmentshouldbe denied.

                                             Respectfullysubmitted.



                                                    James\. Gross,Esquire
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                         UNITED STATESDISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


CHARLES CONROY
                                                  CML ACTION NO. 09-cv-01215

              v.

JBJ LIMOUSINE, INC.
tla JBJ LIMOUSINE and
JBJ LIMOUSINE AND BUS,INC.



                              CERTIFICATE OF SERVICE


       I, JamesN. Gross,Esquire,do herebycertit/ that on this l6thday of November,2009,a

true and correct copy of the Plaintiff s Responseto Defendants' Motion for SummaryJudgment

was servedelectronicallyon the following individuals:




                                RobertD. MacMahon,Esquire
                                   SyreetaPeake,Esquire
                                  Weber,Gallagher,et al.
                                2000 MarketStreet,l3'h Floor
                                  Philadelphia,
                                              PA 19103




                                                    Gross,Esquire
                                                        Plaintiff, Charles Conroy
